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                                   JOIN THE LAWSUIT


                                          CONSENT TO JOIN CLAIM FORM
Mohamad Farah, on behalf of himself and all other similarly situated v. LogistiCare Solutions, LLC Case No. 4:20-cv-
                    00578-RK in the District Court for the Western District of Missouri.
                                                  CONSENT TO JOIN

        My name is Keith V Griffin (print name). I was an In Network Transportation Provider for LOGISTICARE
SOLUTIONS, LLC, from on or about 08/1/2018 (month, year) to on or about 3/31/2019 (month, year). By my signature
below, I hereby authorize the filing and prosecution of claims in my name and on my behalf to contest LOGISTICARE
SOLUTIONS, LLC’S alleged failure to pay me wages as required under federal law. I also authorize the filing of this
consent in the event it needs to be refiled for procedural purposes. I specifically authorize the named Plaintiff, along with
counsel of record for the named Plaintiff to prosecute this lawsuit on my behalf and to negotiate a settlement of the claims
asserted in this case. I hereby consent, agree and opt-in to become a party plaintiff herein and be bound by any judgment
of the Court or any settlement of this action.
                                     Please print or type the following information:




Keith V Griffin                                                                                               12/30/2021______

Full Name (Print clearly)                                 Signature                                    Date


301 Evergreen Dr. Newark, Delaware 19702________________________________________________________________________

Address                                                   City/State/Zip


(302) 737-7570______________________________________griffinvan1006@gmail.com___________________________________

Telephone Number                                          Email Address
                             You must submit this form no later than January 3, 2022, to:

                                          LogistiCare Wage and Hour Litigation
                                                     P.O. Box 26170
                                                  Santa Ana, CA 92799

Or, you may submit this form online by going to: transportationproviderlawsuit.com on or before January 3, 2022.




                                                      Page 1 of 1
                                                   CONSENT TO JOIN
«Barcode»
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                  Case 4:20-cv-00578-RK Document 139-1 Filed 01/04/22 Page 1 of 14
      YOU MUST COMPLETE AND RETURN THIS DOCUMENT OR SUBMIT IT ONLINE IF YOU WISH TO
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                                          CONSENT TO JOIN CLAIM FORM
Mohamad Farah, on behalf of himself and all other similarly situated v. LogistiCare Solutions, LLC Case No. 4:20-cv-
                    00578-RK in the District Court for the Western District of Missouri.
                                                  CONSENT TO JOIN

        My name is Brenda Gravely (print name). I was an In Network Transportation Provider for LOGISTICARE
SOLUTIONS, LLC, from on or about 10/2018 (month, year) to on or about 04/2020 (month, year). By my signature below,
I hereby authorize the filing and prosecution of claims in my name and on my behalf to contest LOGISTICARE
SOLUTIONS, LLC’S alleged failure to pay me wages as required under federal law. I also authorize the filing of this
consent in the event it needs to be refiled for procedural purposes. I specifically authorize the named Plaintiff, along with
counsel of record for the named Plaintiff to prosecute this lawsuit on my behalf and to negotiate a settlement of the claims
asserted in this case. I hereby consent, agree and opt-in to become a party plaintiff herein and be bound by any judgment
of the Court or any settlement of this action.
                                     Please print or type the following information:



Brenda Gravely                                   Brenda Gravely                                        1/3/2022______________

Full Name (Print clearly)                                 Signature                                    Date


205 College Ave. Princeton, West Virginia 24740____________________________________________________________________

Address                                                   City/State/Zip


(304) 922-2192______________________________________mandbtranspo@gmail.com___________________________________

Telephone Number                                          Email Address
                             You must submit this form no later than January 3, 2022, to:

                                          LogistiCare Wage and Hour Litigation
                                                     P.O. Box 26170
                                                  Santa Ana, CA 92799

Or, you may submit this form online by going to: transportationproviderlawsuit.com on or before January 3, 2022.




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                  Case 4:20-cv-00578-RK Document 139-1 Filed 01/04/22 Page 2 of 14
      YOU MUST COMPLETE AND RETURN THIS DOCUMENT OR SUBMIT IT ONLINE IF YOU WISH TO
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                                          CONSENT TO JOIN CLAIM FORM
Mohamad Farah, on behalf of himself and all other similarly situated v. LogistiCare Solutions, LLC Case No. 4:20-cv-
                    00578-RK in the District Court for the Western District of Missouri.
                                                  CONSENT TO JOIN

        My name is Vladimir Trinchet (print name). I was an In Network Transportation Provider for LOGISTICARE
SOLUTIONS, LLC, from on or about 06/10/2020 (month, year) to on or about 12/09/2021 (month, year). By my signature
below, I hereby authorize the filing and prosecution of claims in my name and on my behalf to contest LOGISTICARE
SOLUTIONS, LLC’S alleged failure to pay me wages as required under federal law. I also authorize the filing of this
consent in the event it needs to be refiled for procedural purposes. I specifically authorize the named Plaintiff, along with
counsel of record for the named Plaintiff to prosecute this lawsuit on my behalf and to negotiate a settlement of the claims
asserted in this case. I hereby consent, agree and opt-in to become a party plaintiff herein and be bound by any judgment
of the Court or any settlement of this action.
                                     Please print or type the following information:




Vladimir Trinchet                                                                                                   1/3/2022

Full Name (Print clearly)                                 Signature                                    Date


217 SW 13th Ter. Cape Coral, Florida 33991_________________________________________________________________________

Address                                                   City/State/Zip


(239) 541-8383______________________________________DGGFLORIDASVCSINC@GMAIL.COM______________________

Telephone Number                                          Email Address
                             You must submit this form no later than January 3, 2022, to:

                                          LogistiCare Wage and Hour Litigation
                                                     P.O. Box 26170
                                                  Santa Ana, CA 92799

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                    Case 4:20-cv-00578-RK Document 139-1 Filed 01/04/22 Page 3 of 14
      YOU MUST COMPLETE AND RETURN THIS DOCUMENT OR SUBMIT IT ONLINE IF YOU WISH TO
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                                          CONSENT TO JOIN CLAIM FORM
Mohamad Farah, on behalf of himself and all other similarly situated v. LogistiCare Solutions, LLC Case No. 4:20-cv-
                    00578-RK in the District Court for the Western District of Missouri.
                                                  CONSENT TO JOIN

        My name is Michael Helhem Khodr (print name). I was an In Network Transportation Provider for LOGISTICARE
SOLUTIONS, LLC, from on or about 05/01/2019 (month, year) to on or about 0/0/0 (month, year). By my signature below,
I hereby authorize the filing and prosecution of claims in my name and on my behalf to contest LOGISTICARE
SOLUTIONS, LLC’S alleged failure to pay me wages as required under federal law. I also authorize the filing of this
consent in the event it needs to be refiled for procedural purposes. I specifically authorize the named Plaintiff, along with
counsel of record for the named Plaintiff to prosecute this lawsuit on my behalf and to negotiate a settlement of the claims
asserted in this case. I hereby consent, agree and opt-in to become a party plaintiff herein and be bound by any judgment
of the Court or any settlement of this action.
                                     Please print or type the following information:



Michael Melhem Khodr                                      Michael Melhem Khodr                         1/3/2022______________

Full Name (Print clearly)                                 Signature                                    Date


7322 Three Chopt Rd Richmond, Virginia 23226____________________________________________________________________

Address                                                   City/State/Zip


(804) 895-0100______________________________________friendlytransport2019@gmail.com_____________________________

Telephone Number                                          Email Address
                             You must submit this form no later than January 3, 2022, to:

                                          LogistiCare Wage and Hour Litigation
                                                     P.O. Box 26170
                                                  Santa Ana, CA 92799

Or, you may submit this form online by going to: transportationproviderlawsuit.com on or before January 3, 2022.




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                  Case 4:20-cv-00578-RK Document 139-1 Filed 01/04/22 Page 4 of 14
      YOU MUST COMPLETE AND RETURN THIS DOCUMENT OR SUBMIT IT ONLINE IF YOU WISH TO
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                                          CONSENT TO JOIN CLAIM FORM
Mohamad Farah, on behalf of himself and all other similarly situated v. LogistiCare Solutions, LLC Case No. 4:20-cv-
                    00578-RK in the District Court for the Western District of Missouri.
                                                  CONSENT TO JOIN

        My name is Nathan Jones (print name). I was an In Network Transportation Provider for LOGISTICARE
SOLUTIONS, LLC, from on or about 12-15-15 (month, year) to on or about 12-15-19 (month, year). By my signature
below, I hereby authorize the filing and prosecution of claims in my name and on my behalf to contest LOGISTICARE
SOLUTIONS, LLC’S alleged failure to pay me wages as required under federal law. I also authorize the filing of this
consent in the event it needs to be refiled for procedural purposes. I specifically authorize the named Plaintiff, along with
counsel of record for the named Plaintiff to prosecute this lawsuit on my behalf and to negotiate a settlement of the claims
asserted in this case. I hereby consent, agree and opt-in to become a party plaintiff herein and be bound by any judgment
of the Court or any settlement of this action.
                                     Please print or type the following information:




Nathan Jones                                                                               1/3/2022_____________________

Full Name (Print clearly)                                 Signature                                     Date


936 E Gregory Blvd, Kansas City, Missouri 64131____________________________________________________________________

Address                                                   City/State/Zip


(816) 359-8759______________________________________semt911@gmail.com________________________________________

Telephone Number                                          Email Address
                             You must submit this form no later than January 3, 2022, to:

                                          LogistiCare Wage and Hour Litigation
                                                     P.O. Box 26170
                                                  Santa Ana, CA 92799

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                  Case 4:20-cv-00578-RK Document 139-1 Filed 01/04/22 Page 5 of 14
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                                          CONSENT TO JOIN CLAIM FORM
Mohamad Farah, on behalf of himself and all other similarly situated v. LogistiCare Solutions, LLC Case No. 4:20-cv-
                    00578-RK in the District Court for the Western District of Missouri.
                                                  CONSENT TO JOIN

        My name is Jhonn Ramirez (print name). I was an In Network Transportation Provider for LOGISTICARE
SOLUTIONS, LLC, from on or about 09/2007 (month, year) to on or about 04/2020 (month, year). By my signature below,
I hereby authorize the filing and prosecution of claims in my name and on my behalf to contest LOGISTICARE
SOLUTIONS, LLC’S alleged failure to pay me wages as required under federal law. I also authorize the filing of this
consent in the event it needs to be refiled for procedural purposes. I specifically authorize the named Plaintiff, along with
counsel of record for the named Plaintiff to prosecute this lawsuit on my behalf and to negotiate a settlement of the claims
asserted in this case. I hereby consent, agree and opt-in to become a party plaintiff herein and be bound by any judgment
of the Court or any settlement of this action.
                                     Please print or type the following information:




Jhonn Ramirez                                                                                                  1/3/2022_______

Full Name (Print clearly)                                 Signature                                     Date


34 Glen Eagles Rd. Washington, New Jersey 07882___________________________________________________________________

Address                                                   City/State/Zip


(973) 580-2145______________________________________Jhonndraco@hotmail.com____________________________________

Telephone Number                                          Email Address
                             You must submit this form no later than January 3, 2022, to:

                                          LogistiCare Wage and Hour Litigation
                                                     P.O. Box 26170
                                                  Santa Ana, CA 92799

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Mohamad Farah, on behalf of himself and all other similarly situated v. LogistiCare Solutions, LLC Case No. 4:20-cv-
                    00578-RK in the District Court for the Western District of Missouri.
                                                  CONSENT TO JOIN

        My name is Thelma Jackson (print name). I was an In Network Transportation Provider for LOGISTICARE
SOLUTIONS, LLC, from on or about 01/2020 (month, year) to on or about 04/2020 (month, year). By my signature below,
I hereby authorize the filing and prosecution of claims in my name and on my behalf to contest LOGISTICARE
SOLUTIONS, LLC’S alleged failure to pay me wages as required under federal law. I also authorize the filing of this
consent in the event it needs to be refiled for procedural purposes. I specifically authorize the named Plaintiff, along with
counsel of record for the named Plaintiff to prosecute this lawsuit on my behalf and to negotiate a settlement of the claims
asserted in this case. I hereby consent, agree and opt-in to become a party plaintiff herein and be bound by any judgment
of the Court or any settlement of this action.
                                     Please print or type the following information:



Thelma Jackson                                   Thelma Jackson                                         1/3/2022______________

Full Name (Print clearly)                                 Signature                                     Date


2005 Kingsgate Dr. Saint Louis, Missouri 63138____________________________________________________________________

Address                                                   City/State/Zip


(314) 660-3833______________________________________thelmahustonjackson@gmail.com_____________________________

Telephone Number                                          Email Address
                             You must submit this form no later than January 3, 2022, to:

                                          LogistiCare Wage and Hour Litigation
                                                     P.O. Box 26170
                                                  Santa Ana, CA 92799

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                                                      Page 1 of 1
                                                   CONSENT TO JOIN
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                                          CONSENT TO JOIN CLAIM FORM
Mohamad Farah, on behalf of himself and all other similarly situated v. LogistiCare Solutions, LLC Case No. 4:20-cv-
                    00578-RK in the District Court for the Western District of Missouri.
                                                  CONSENT TO JOIN

        My name is Sterland Jackson (print name). I was an In Network Transportation Provider for LOGISTICARE
SOLUTIONS, LLC, from on or about 01/2020 (month, year) to on or about 04/2020 (month, year). By my signature below,
I hereby authorize the filing and prosecution of claims in my name and on my behalf to contest LOGISTICARE
SOLUTIONS, LLC’S alleged failure to pay me wages as required under federal law. I also authorize the filing of this
consent in the event it needs to be refiled for procedural purposes. I specifically authorize the named Plaintiff, along with
counsel of record for the named Plaintiff to prosecute this lawsuit on my behalf and to negotiate a settlement of the claims
asserted in this case. I hereby consent, agree and opt-in to become a party plaintiff herein and be bound by any judgment
of the Court or any settlement of this action.
                                     Please print or type the following information:



Sterland Jackson                                          Sterland Jackson                                     1/3/2022_______

Full Name (Print clearly)                                 Signature                                     Date


2005 Kingsgate Dr. Saint Louis, Missouri 63138_____________________________________________________________________

Address                                                   City/State/Zip


(314) 372-5728______________________________________ssj723@gmail.com__________________________________________

Telephone Number                                          Email Address
                             You must submit this form no later than January 3, 2022, to:

                                          LogistiCare Wage and Hour Litigation
                                                     P.O. Box 26170
                                                  Santa Ana, CA 92799

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                   Case 4:20-cv-00578-RK Document 139-1 Filed 01/04/22 Page 9 of 14
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                                           CONSENT TO JOIN CLAIM FORM
Mohamad Farah, on behalf of himself and all other similarly situated v. LogistiCare Solutions, LLC Case No. 4:20-cv-
                    00578-RK in the District Court for the Western District of Missouri.
                                                    CONSENT TO JOIN

         My name is Melani Weatherspoon (print name). I was an In Network Transportation Provider for LOGISTICARE
SOLUTIONS, LLC, from on or about July 2007 (month, year) to on or about November 2018 (month, year). By my
signature below, I hereby authorize the filing and prosecution of claims in my name and on my behalf to contest
LOGISTICARE SOLUTIONS, LLC’S alleged failure to pay me wages as required under federal law. I also authorize the
filing of this consent in the event it needs to be refiled for procedural purposes. I specifically authorize the named Plaintiff,
along with counsel of record for the named Plaintiff to prosecute this lawsuit on my behalf and to negotiate a settlement of
the claims asserted in this case. I hereby consent, agree and opt-in to become a party plaintiff herein and be bound by any
judgment of the Court or any settlement of this action.
                                      Please print or type the following information:




Melani Weatherspoon                                                                                                     1/3/2022

Full Name (Print clearly)                                   Signature                                      Date


1362 N. Highway 9 Parkville, Missouri 64152_______________________________________________________________________

Address                                                     City/State/Zip


(816) 446-2986______________________________________SMILINGFACES@GMAIL.COM_____________________________

Telephone Number                                            Email Address
                              You must submit this form no later than January 3, 2022, to:

                                            LogistiCare Wage and Hour Litigation
                                                       P.O. Box 26170
                                                    Santa Ana, CA 92799

Or, you may submit this form online by going to: transportationproviderlawsuit.com on or before January 3, 2022.




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                  Case 4:20-cv-00578-RK Document 139-1 Filed 01/04/22 Page 10 of 14
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                                          CONSENT TO JOIN CLAIM FORM
Mohamad Farah, on behalf of himself and all other similarly situated v. LogistiCare Solutions, LLC Case No. 4:20-cv-
                    00578-RK in the District Court for the Western District of Missouri.
                                                  CONSENT TO JOIN

        My name is Victor Macy (print name). I was an In Network Transportation Provider for LOGISTICARE
SOLUTIONS, LLC, from on or about 12-1-2017 (month, year) to on or about 07-31-2019 (month, year). By my signature
below, I hereby authorize the filing and prosecution of claims in my name and on my behalf to contest LOGISTICARE
SOLUTIONS, LLC’S alleged failure to pay me wages as required under federal law. I also authorize the filing of this
consent in the event it needs to be refiled for procedural purposes. I specifically authorize the named Plaintiff, along with
counsel of record for the named Plaintiff to prosecute this lawsuit on my behalf and to negotiate a settlement of the claims
asserted in this case. I hereby consent, agree and opt-in to become a party plaintiff herein and be bound by any judgment
of the Court or any settlement of this action.
                                     Please print or type the following information:




Victor Macy                                                                                             1/3/2022______________

Full Name (Print clearly)                                 Signature                                     Date


5900 Winding Way Auburn, California 95602____________________________________________________________________

Address                                                   City/State/Zip


(530) 613-5400______________________________________vwmacy@yahoo.com________________________________________

Telephone Number                                          Email Address
                             You must submit this form no later than January 3, 2022, to:

                                          LogistiCare Wage and Hour Litigation
                                                     P.O. Box 26170
                                                  Santa Ana, CA 92799

Or, you may submit this form online by going to: transportationproviderlawsuit.com on or before January 3, 2022.




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                                          CONSENT TO JOIN CLAIM FORM
Mohamad Farah, on behalf of himself and all other similarly situated v, LogistiCc re Solutions, LLC Case No. 4:20-cv-
                    00578-RK in the District Court for the Western District of Missouri.
                                                  CONSENT TO JOIN

        My name is Hris A -Bo                            (print name). I was an In etwork Transportation Provider for
LOGISTICARE SOLUTIONS, LLC, from on or about                             c / AO/5        (month, year) to on or about
                        _ (month, year). By my signature below, I hereby authorize I le filing and prosecution of claims in
my name and on my behalf to contest LOGISTICARE SOLUTIONS, LLC’S allege failure to pay me wages as required
under federal law. I also authorize the filing of this consent in the event it needs to >e refiled for procedural purposes. I
specifically authorize the named Plaintiff, along with counsel of record for the name Plaintiff to prosecute this lawsuit on
my behalf and to negotiate a settlement of the claims asserted in this case. I hereby onsent, agree and opt-in to become a
party plaintiff herein and be bound by any judgment of the Court or any settlement o this action.
                                     Please print or type the following informatior

     —    o    I
    LviA      a

Full Name (Print clearly)                                 Signature                                 Date


 ybBS              'FC4                                  &AjmSoVk , j/A                   c^jO/SS"

Address                                                   City/State/Zip

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Telephone Number                                          Email Address
                             You must submit this form no later than January 3, |022, to:

                                          LogistiCare Wage and Hour Litigation
                                                     P.O. Box 26170
                                                  Santa Ana, CA 92799

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                                JOIN THE LAWSUIT


                                            CONSENT TO lOTN CLAIM FORM
Mohamad Farah, on behalf of himself and all other similarly situated v. LogustiCan Solutions, LLC Case No. 4:20-cv-
                    00578-RK in the District Court for the Western District o1 Missouri.
                                                     CONSENT TO JOIN

        My name is                               ^zi^^(I(print name). , was an In N [work Transportation Provider for
L.OGISTICARE SOLUTIONS, LLC, from on or about                                  ---------- (month, year) to on or about
  •2} Cl(_________(month, year). By my signature below, I hereby authorize th filing and prosecution of claims in
i^fnaLrand on my behalFto'comestLOGISTICARE SOLUTIONS, LLC’S alleged [failure to pay me wages as required
under federal law. I also authorize the filing of tliis consent in the event it needs to I e refiled for procedural purposes,
specifically authorize the named Plaintiff, along with counsel of record for the named daintiff to prosecute *is lawsuit on
mv behalf and to negotiate a settlement of the claims asserted in this case. I hereby c:(iiisenl, agree and opt-in to become a
party plaintiff herein and be bound by any judgment of the Court or any settlement of lis action.
                                         Please print or type the following information

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Full Name (Print clearly)                                   Signature                                  Date


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 Address                                                     City/State/Zip



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V Telephone Number  ' '                                      Email Address
                                  You must submit this form no later than January 3,2p22, to;

                                              LogistiCare Wage and Hour Litigation
                                                         P.O. Bo,x 26170
                                                      Santa Ana, CA 92799

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   YOU MUST COMPLETE AND RETURN THIS DOCUMENT OR SUBMIT I r ONLINE IF YOU WISH TO
                                JOIN THE LAWSUIT


                                          CONSENT TO JOIN CLAIM FORM
Mohamad FaraJi, on behalf of himself and all other similarly situated v. LogistiCare Solutions, LLC Case No, 4:20-cv-
                     00578-RK in the District Coart for the Western District of Vfissouri.
                                                   CONSENT TO JOIN

        My name is     IfhcfTi-MJ T                      (print name). I was an In Ne work Transportation Provider for
LOGISTICARE SOLUTIONS, LLC, from on or about                                              (month, year) to on or about
                   ____ (month, yeai'). By my signature below, I hereby authorize the filing and prosecution of claims in
my name and on my behalf to contest LOGISTICARE SOLUTIONS, LLC’S alleged f hlure to pay me wages as required
under federal law. I also authorize the filing of this consent in the event it needs to be refiled for procedural purposes. I
specifically authorize the named Plaintiff, along with counsel of record for the named I laintiff to prosecute this lawsuit on
my behalf and to negotiate a settlement of the claims asserted in this case. 1 hereby coi isent, agree and opt-in to become a
party plaintiff herein and be bound by any judgment of the Court or any settlement of tl is action.
                                     Please print or type the following information:




Full Name (Print clearly)                                 Signature                                 Date

 3
Address                                                   City/State/Zip




Telephone Number                                          Email Address
                             You must submit this form no later than January 3,20^2, to:

                                          LogistiCare Wage and Hour Litigation
                                                     P.O. Box 26170
                                                  Santa Ana, CA 92799

Or, you may submit this form online by going to: transportationoroviderIawsuit.c mi on or before January 3,2022




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                                             CONSENT  TO   JOIN
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